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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO

MICHAEL JOHNSON,                    )
                                    )
                        Plaintiff,  )
                                    )               Case No. 1:21-cv-00294-KWR-KK
v.                                  )
                                    )
BANK OF AMERICA, INC.,              )
a Foreign Corporation,              )
                                    )
Defendant.                          )
____________________________________)

  STIPULATED AGREEMENT FOR AN EXTENSION OF TIME TO SUBMIT
      REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS



       Defendant Bank of America, N.A. (“BANA”), improperly named in the Complaint

as Bank of America, Inc., by counsel hereby gives notice the Court that the parties have

stipulated to a two-week extension of time for BANA to file a reply in support of BANA’s

Motion to Dismiss [Doc. 5]. The deadline for BANA to submit a reply in support of its

Motion to Dismiss is June 14, 2021. Opposing counsel has been reached and stipulates to

the instant extension.

                                    MODRALL, SPERLING, ROEHL, HARRIS
                                      & SISK, P.A.

                                    By:/s/ Spencer L. Edelman
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                             CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF System.


MODRALL, SPERLING, ROEHL, HARRIS
  & SISK, P.A.

By: /s/ Spencer L. Edelman
        Spencer L. Edelman




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